                                 UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF KANSAS

IN RE:                                                              }           CASE NUMBER: 16-10446
           ABENGOA BIOENERGY BIOMASS OF                             }
           KANSAS, LLC                                              }
                                                                    }           JUDGE Robert E. Nugent
                                                                    }
           DEBTOR.                                                  }           CHAPTER 11




                                             DEBTOR'S POST-CONFIRMATION
                                             QUARTERLY OPERATING REPORT
                                                     FOR THE PERIOD
                        FROM                     7/1/2018      TO    9/30/2018



   Comes now the above-named debtor and files its Post-Confirmation Quarterly Operating Report in accordance with the
Guidelines established by the United States Trustee and FRBP 2015.



  Dated:   10/30/2018                                                                      /s/ Michael A. VanNiel
                                                                                           Attorney for Liquidating Trustee




           Liquidating Trustee's Address                                                   Attorney's Address
           and Phone Number:                                                               and Phone Number:
           ABBK Liquidating Trust                                                          Michael A. VanNiel
           32125 Solon Rd., STE 200                                                        BAKER & HOSTETLER LLP
           Solon, OH 44139                                                                 Key Tower
                                                                                           127 Public Square, Suite 2000
           Tel. 440/394-6152                                                               Cleveland, Ohio 44114-1214
                                                                                           Bar # OH 0073948 (admitted pro hac vice)
                                                                                           Phone: (216) 621-0200

Note: The original Post Confirmation Quarterly Operating Report is to be filed with the Court and a copy simultaneously provided to the
United States Trustee. Operating Reports must be filed by the last day of the month following the reporting period.

For assistance in preparing the Post Confirmation Quarterly Operating Report, refer to the following resources on the United States
Trustee website: http://www.justice.gov/ust/r20/index.htm.
1) Instructions for Preparing Debtor's Chapter 11 Post confirmation Quarterly Operating Report
2) Initial Filing Requirements
3) Frequently Asked Questions (FAQs)




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      MONTHLY OPERATING REPORT -                                                                                                                       ATTACHMENT NO. 1
      POST CONFIRMATION



                                                              QUESTIONNAIRE
                                                                                                                                             YES*             NO
1.     Have any assets been sold or transferred outside the normal course of business, or outside
       the Plan of Reorganization during this reporting period?                                                                                                   X
2.     Are any post-confirmation sales or payroll taxes past due?
                                                                                                                                                                  X
3.     Are any amounts owed to post-confirmation creditors/vendors over 90 days delinquent?
                                                                                                                                                                  X
4.     Is the Debtor current on all post-confirmation plan payments?
                                                                                                                                               X


               *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.




                                                      INSURANCE INFORMATION
                                                                                                                                              YES             NO*
1.     Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
       compensation, and other necessary insurance coverages in effect?                                                                        X
2.     Are all premium payments current?
                                                                                                                              X
                *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.




                                                                        CONFIRMATION OF INSURANCE
                                                                                                                                              Payment Amount              Delinquency
                        TYPE of POLICY               and             CARRIER                                  Period of Coverage               and Frequency               Amount

       Misc. Professional Liability: Carrier - Crum & Foster                                              3/30/18 - 3/30/19                   $10,275 Annual                 None
       Excess Professional Liability; Carrier - Great Ameerican                                           3/30/18 - 3/30/19                    $2,000 Annual                 None




                          DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:
       During the reporting period, the Plan and Liquidating Trust Agreement were substantially consummated through, without limitation, the occurrence of
       following: a second interim distribution of an additional 11.3% to holders of Allowed Class 2 General Unsecured Claims; the defense of the Plan of Liquidation
       in the District Court; the settlement of various Administrative claims asserted in the case; and the submission of pleadings in the Appellate Court in an appeal
        by Drivetrain, LLC of both the Plan of Liquidation and theBankruptcy Court and District Court's declining to stay the Plan pending appeal



       A final decree cannot be entered at this time because certain contested matters have not yet been finally resolved (see LBR 3022.1(b)(6)), specifically:
       there are several appeals of orders of the United States Bankruptcy Court for the District of Kansas that were filed by Drivetrain, LLC and that remain
       pending in the Tenth Circuit Court of Appeals. The ABBK Liquidating Trustee intends to promptly move for entry of a final decree after resolution of
       those open matters.

     Estimated Date of Filing the Application for Final Decree: _SEE DETAIL ABOVE__________




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     MONTHLY OPERATING REPORT -                                                                           ATTACHMENT NO. 2
     POST CONFIRMATION

                              CHAPTER 11 POST-CONFIRMATION
                          SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                                           Jul-18


Case Name:      16-10446
                ABENGOA BIOENERGY BIOMASS OF
Debtor:         KANSAS, LLC

Date of Plan Confirmation: 3/29/18

               All items must be answered. Any which do not apply should be answered “none” or “N/A”.


                                                                       Monthly          Post Confirmation Total
1.   CASH (Beginning of Period)                            $             6,066,224.56 $            19,321,099.62


2.   INCOME or RECEIPTS during the Period                  $                    702.64 $                     5,548.38


3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)   U.S. Trustee Quarterly Fees                $                      0.00 $                     4,875.00
          (ii)  Federal Taxes                                                     none                           none
          (iii) State Taxes                                                       none                           none
          (iv) Other Taxes                                                        none                           none

     b.   All Other Operating Expenses:                    $                      none $                        none

     c.   Plan Payments:
          (i)   Administrative Claims                      $                171,910.50 $                 1,718,695.12
          (ii)  Priority Claims                                                   0.00                      95,464.65
          (iii) Class One                                                         0.00                           0.00
          (iv) Class Two                                                          0.00                  11,612,596.53
          (v)   Class Three                                                       none                           none
          (vi) Class Four                                                         none                           none
                (Attach additional pages as needed)

     Total Disbursements (Operating & Plan)                $                171,910.50 $                13,431,631.30
                                                                                  0.00                           0.00
1.   CASH (End of Period)                                  $              5,895,016.70 $                 5,895,016.70
                                                                                                                 0.00




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     MONTHLY OPERATING REPORT -                                                                           ATTACHMENT NO. 2
     POST CONFIRMATION

                              CHAPTER 11 POST-CONFIRMATION
                          SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                                          Aug-18


Case Name:      16-10446
                ABENGOA BIOENERGY BIOMASS OF
Debtor:         KANSAS, LLC

Date of Plan Confirmation: 3/29/18

               All items must be answered. Any which do not apply should be answered “none” or “N/A”.


                                                                       Monthly          Post Confirmation Total
1.   CASH (Beginning of Period)                            $             5,895,016.70 $            19,321,099.62


2.   INCOME or RECEIPTS during the Period                  $                    628.54 $                     6,176.92


3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)   U.S. Trustee Quarterly Fees                $                134,338.25 $                  139,213.25
          (ii)  Federal Taxes                                                     none                          none
          (iii) State Taxes                                                       none                          none
          (iv) Other Taxes                                                        none                          none

     b.   All Other Operating Expenses:                    $                      none $                        none

     c.   Plan Payments:
          (i)   Administrative Claims                      $                460,500.77 $                 2,179,195.89
          (ii)  Priority Claims                                                   0.00                      95,464.65
          (iii) Class One                                                         0.00                           0.00
          (iv) Class Two                                                    174,105.00                  11,786,701.53
          (v)   Class Three                                                       none                           none
          (vi) Class Four                                                         none                           none
                (Attach additional pages as needed)

     Total Disbursements (Operating & Plan)                $                768,944.02 $                14,200,575.32
                                                                                  0.00                           0.00
1.   CASH (End of Period)                                  $              5,126,701.22 $                 5,126,701.22




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     POST CONFIRMATION

                              CHAPTER 11 POST-CONFIRMATION
                          SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                                          Sep-18


Case Name:      16-10446
                ABENGOA BIOENERGY BIOMASS OF
Debtor:         KANSAS, LLC

Date of Plan Confirmation: 3/29/18

               All items must be answered. Any which do not apply should be answered “none” or “N/A”.


                                                                       Monthly          Post Confirmation Total
1.   CASH (Beginning of Period)                            $             5,126,701.22 $            19,321,099.62


2.   INCOME or RECEIPTS during the Period                  $                    566.90 $                     6,743.82


3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)   U.S. Trustee Quarterly Fees                $                      0.00 $                  139,213.25
          (ii)  Federal Taxes                                                     none                          none
          (iii) State Taxes                                                       none                          none
          (iv) Other Taxes                                                        none                          none

     b.   All Other Operating Expenses:                    $                      none $                        none

     c.   Plan Payments:
          (i)   Administrative Claims                      $                160,059.01 $                 2,339,254.90
          (ii)  Priority Claims                                                   0.00                      95,464.65
          (iii) Class One                                                         0.00                           none
          (iv) Class Two                                                  2,651,416.01                  14,438,117.54
          (v)   Class Three                                                       none                           none
          (vi) Class Four                                                         none                           none
                (Attach additional pages as needed)

     Total Disbursements (Operating & Plan)                $              2,811,475.02 $                17,012,050.34
                                                                                  0.00                           0.00
1.   CASH (End of Period)                                  $              2,315,793.10 $                 2,315,793.10




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    MONTHLY OPERATING REPORT -                                                                                ATTACHMENT NO. 3
    POST CONFIRMATION

                                           CHAPTER 11 POST-CONFIRMATION
                                           BANK ACCOUNT RECONCILIATIONS
                                         Prepare Reconcilation for each Month of the Quarter

Bank Account Information                                            Jul-18                Aug-18                Sep-18
                                                                   Account                Account               Account
                                                                      #1                    #1                    #1

Name of Bank:                                                      KeyBank               KeyBank               KeyBank

Account Number:                                               xxxxxxxx1654          xxxxxxxx1654          xxxxxxxx1654

Purpose of Account (Operating/Payroll/Tax)                           Main                   Main                  Main
Type of Account (e.g. checking)                                    Checking              Checking              Checking

1. Balance per Bank Statement                                       6,015,252.20          5,224,177.22          5,028,651.30
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks*                                      884,046.52          2,864,570.97          2,833,856.24
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)                        5,131,205.68          2,359,606.25          2,194,795.06


Note: Attach copy of each bank statement and bank reconciliation.
*Note: Second Interim Distribution checks ($2,651,416) entered into system in August, but not printed & released until September



Investment Account Information
                                                                    Date of              Type of               Purchase            Current
          Bank / Account Name / Number                             Purchase             Instrument              Price               Value
N/A




Note: Attach copy of each investment account statement.




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   POST CONFIRMATION


                                                            CHAPTER 11 POST-CONFIRMATION
                                                       CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                        KeyBank
Account Number                                                      xxxxxxxx1654
Purpose of Account (Operating/Payroll/Personal)                     Main
Type of Account (e.g., Checking)                                    Checking

  Check       Date of
 Number     Transaction                         Payee                                      Purpose or Description                         Amount
 7/2/2018           7127   Abengoa Liquidating Trust                Per Stipulation and Settlement Agreement Regarding Claim              -155,000.00
7/30/2018           7128   Joseph Abkemeier                         Services in excess of Quarterly estimate                                -4,387.50
7/30/2018           7129   DLA Piper LLP (US)                       Invoices 3631901 & 3616007                                             -12,523.00
 8/2/2018           7130   BDO USA LLP                              Fees-Expenses - June 2018                                              -11,280.00
 8/2/2018           7131   Rebecca Prevost                          Independent Contractor services w/o 5/27 - 7/1/18                       -2,730.00
 8/2/2018           7132   MelCap Partners, LLC                     ABBK - Final Fee Application - Docket 1579                              -4,387.50
 8/2/2018           7133   Robert L. Baer                           ABBK - Final Fee Application - Docket 1582                              -3,105.00
 8/2/2018           7134   Affinity Law Group, LLC                                                                                               -121
 8/2/2018           7135   Baker & Hostetler LLP                    Fees - Invoice 50522694 - June                                        -165,944.83
 8/2/2018           7135   Baker & Hostetler LLP                    20th & 21st Monthly Applications                                      -263,990.44
 8/2/2018           7136   Fair Harbor Capital, LLC                 re: Lotus Mixers Inc.- Claim F-83 Replaces original check 7065          -3,421.00
 8/9/2018           7137   DLA Piper LLP (US)                       Invoice # 3639765 - July 2018                                                -388
 8/9/2018           7138   U.S. Trustee Payment Center              UST Fee - 2Q 2018 - Account # 8361610446                              -134,338.25
8/15/2018           7139   BDO USA LLP                              Fees - July 2018                                                        -8,520.00
8/16/2018                  Service Charge                                                                                                         -34
8/16/2018          7140    Pinnacle Engineering, Inc                Interim Distribution - F-98 - Replacement check                       -170,684.00
 9/4/2018          7141    Baker & Hostetler LLP                    Invoice 50535031 - July 2018                                          -112,257.96
9/10/2018          7142    DLA Piper LLP (US)                       Invoice 3653226 - August 2018                                                -388
9/11/2018          7143    Abeinsa Liquidation Trust I              Amended POC #101 - ABBK bankruptcy proceedings                         -30,000.00
9/17/2018          7144    BDO USA LLP                              Invoice 001013843 - August 2018                                        -17,200.00
9/19/2018          7145    St. Louis Record Center                  Records Retention - 11/1/18 - 1/31-19                                     -213.05
9/25/2018          7146    Air Diffusion Systems                    2nd Interim Distribution - Claim F-11                                  -81,352.24
9/25/2018          7147    Alfa Laval Inc.                          2nd Interim Distribution - POC #44                                     -45,098.66
9/25/2018          7148    America's Central Port                   2nd Interim Distribution - Claim F-14                                   -1,125.58
9/25/2018          7149    Anthem Blue Cross Blue Shield            2nd Interim Distribution - Claim F-16                                     -480.95
9/25/2018          7150    Argo Partners                            2nd Interim Distribution [Refiner Products/Martin Trucking]            -86,505.21
9/25/2018          7151    Assurant Employee Benefits               2nd Interim Distribution - Claim F-18                                     -510.11
9/25/2018          7152    Baker Corp.                              2nd Interim Distribution - Claim F-19                                 -127,096.39
9/25/2018          7153    BCI Propane LLC                          2nd Interim Distribution - Claim F-20                                     -115.58
9/25/2018          7154    Bion Analytical Standards LLC            2nd Interim Distribution - POC #37                                         -90.86
9/25/2018          7155    BKD LLP                                  2nd Interim Distribution - Claim F-24                                   -3,241.67
9/25/2018          7156    Black Hills Energy                       2nd Interim Distribution - POC #61                                     -53,422.14
9/25/2018          7157    BRB Contractors, Inc.                    2nd Interim Distribution - Claim F-30                                     -180.09
9/25/2018          7158    Brenntag Mid-South, Inc.                 2nd Interim Distribution - Claim F-31                                   -1,102.17
9/25/2018          7159    Brent Inkelaar                           2nd Interim Distribution - POC #86                                     -17,093.14
9/25/2018          7160    Building Controls & Services             2nd Interim Distribution - POC #14                                        -777.24
9/25/2018          7161    Bultman Tire, Inc.                       2nd Interim Distribution - Claim F-33                                      -157.5
9/25/2018          7162    Argo Partners                            2nd Interim Distribution a/a/o Burns & McDonnell Claim F-34             -1,204.55
9/25/2018          7163    CB&I Environmental & Infrastructure      2nd Interim Distribution - POC #75                                      -3,001.70
9/25/2018          7164    CF Service And Supply LLC                2nd Interim Distribution - Claim F-36                                      -321.9
9/25/2018          7165    Chemtreat Inc.                           2nd Interim Distribution - Claim F-37                                   -1,100.14
9/25/2018          7166    Cintas Corporation                       2nd Interim Distribution - Claim F-38                                   -4,674.00
9/25/2018          7167    City of Hugoton                          2nd Interim Distribution - Claim F-39                                      -897.8
9/25/2018          7168    Clean Harbors Environmental              2nd Interim Distribution - Claim F-40                                     -201.03
9/25/2018          7169    Compuweigh Corporation                   2nd Interim Distribution - Claim F-43                                   -1,325.73
9/25/2018          7170    Conney Safety Products, LLC              2nd Interim Distribution - Claim F-44                                   -7,751.80
9/25/2018          7171    Control-Tech, Inc.                       2nd Interim Distribution - Claim F-45                                     -424.46
9/25/2018          7172    CRG Financial LLC                        2nd Interim Distribution - POC #19                                      -6,418.12
9/25/2018          7173    Danny Allison                            2nd Interim Distribution                                               -19,598.26
9/25/2018          7174    Deloitte & Touche, LLP                   2nd Interim Distribution - Claim F-48                                   -2,293.37
9/25/2018          7175    DeWine Mechanical Inc.                   2nd Interim Distribution - POC #24                                        -699.04
9/25/2018          7176    DXP Enterprises, Inc.                    2nd Interim Distribution - Claim F-51                                   -5,606.83
9/25/2018          7177    Economy Power & Instrument, Inc.         2nd Interim Distribution - Claim F-52                                   -2,391.86
9/25/2018          7178    Enpro, Inc.                              2nd Interim Distribution - Claim F-55                                  -23,156.30
9/25/2018          7179    Equipment Pro, Inc.                      2nd Interim Distribution - POC #25                                     -67,798.50
9/25/2018          7180    Evansville Welding Supply LLC            2nd Interim Distribution - POC #64                                        -152.26
9/25/2018          7181    Five D Supply, Inc.                      2nd Interim Distribution - Claim F-60                                      -51.43
9/25/2018          7182    Garrison Minerals LLC                    2nd Interim Distribution - Claim F-62                                   -5,989.81
9/25/2018          7183    GE Oil & Gas Inc.                        2nd Interim Distribution - POC #82                                      -8,087.29
9/25/2018          7184    Ghumm's Auto Center, LLC                 2nd Interim Distribution - Claim F-66                                     -110.36
9/25/2018          7185    Greenburg Traurig P.A.                   2nd Interim Distribution - POC #15                                    -995,282.03
9/25/2018          7186    Greg Morris                              2nd Interim Distribution - POC #89                                    -137,606.19
9/25/2018          7187    Hain Capital Investors LLC               2nd Interim Distribution [ERC/Thermodyn]                               -58,593.74
9/25/2018          7188    Halo Branded Solutions                   2nd Interim Distribution - Claim F-67                                     -359.27
9/25/2018          7189    Hammel Scale Co., Inc.                   2nd Interim Distribution - Claim F-68                                     -630.21
9/25/2018          7190    Husch Blackwell LLP                      2nd Interim Distribution - POC #13                                        -883.25




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    POST CONFIRMATION


  Check        Date of
 Number      Transaction                           Payee                                             Purpose or Description                    Amount
9/25/2018            7191   VonWin Capital Management, L.P.                  2nd Interim Distribution - Claim F-70                               -1,494.81
9/25/2018            7192   Illinois Electric Works                          2nd Interim Distribution - Claim F-72                                 -529.02
9/25/2018            7193   Ingersoll Rand Company                           2nd Interim Distribution - Claim F-73                               -5,383.05
9/25/2018            7194   Integrated Solutions, Inc.                       2nd Interim Distribution - Claim F-74                                 -792.58
9/25/2018            7195   Interstate Chemical Company Inc.                 2nd Interim Distribution - Claim F-75                              -16,381.83
9/25/2018            7196   JCI Industries, Inc.                             2nd Interim Distribution - Claim F-76                               -4,858.04
9/25/2018            7197   John Zink Co., LLC                               2nd Interim Distribution - POC #20                                  -2,444.66
9/25/2018            7198   Fair Harbor Capital, LLC                         2nd Interim Distribution [Kansas Association/Lotus Mixers]          -2,931.18
9/25/2018            7199   Kansas Department of Health & Environment        2nd Interim Distribution - Claim F-79                                 -117.06
9/25/2018            7200   Knipp Equipment, Inc. d/b/a Kansas               2nd Interim Distribution - Claim F-81                                 -397.75
9/25/2018            7201   LRC Energy                                       2nd Interim Distribution - POC #18                                 -87,559.78
9/25/2018            7202   Luminate LLC                                     2nd Interim Distribution - Claim F-86                               -2,752.36
9/25/2018            7203   Madden Oil Company                               2nd Interim Distribution - POC #98                                 -14,467.53
9/25/2018            7204   Martin Westerhuis                                2nd Interim Distribution - POC #84                                 -12,296.79
9/25/2018            7205   McCandish Holton PC                              2nd Interim Distribution - POC #58                                  -1,643.35
9/25/2018            7206   Mid States Supply                                2nd Interim Distribution - Claim F-91                                 -578.15
9/25/2018            7207   Midland Scientific Inc.                          2nd Interim Distribution - POC #49                                  -9,912.45
9/25/2018            7208   Missouri Kansas Supply Co. Inc.                  2nd Interim Distribution - Claim F-93                               -8,371.03
9/25/2018            7209   MSDSonline, Inc.                                 2nd Interim Distribution - Claim F-94                                 -157.58
9/25/2018            7210   Nalco Company                                    2nd Interim Distribution - Claim F-95                                 -822.37
9/25/2018            7211   Pacific Ag LLC                                   2nd Interim Distribution - POC #91                                 -85,393.56
9/25/2018            7212   Phibrochem, Inc.                                 2nd Interim Distribution - Claim F-97                               -3,678.84
9/25/2018            7213   Pinnacle Engineering Inc.                        2nd Interim Distribution - Claim F-98                              -38,423.79
9/25/2018            7214   Pioneer Electric Cooperative, Inc.               2nd Interim Distribution - Claim F-100                              -8,173.71
9/25/2018            7215   Process Equipment & Controls, Inc.               2nd Interim Distribution - Claim F-101                                -357.59
9/25/2018            7216   Pumping Solutions Inc.                           2nd Interim Distribution - POC #74                                  -3,177.56
9/25/2018            7217   Roquette America Inc.                            2nd Interim Distribution - Claim F-104                             -22,723.53
9/25/2018            7218   Sanders Products Inc.                            2nd Interim Distribution - Claim F-105                              -1,475.86
9/25/2018            7219   Satellite Shelters, Inc.                         2nd Interim Distribution - Claim F-106                                -180.82
9/25/2018            7220   Schendel Pest Services                           2nd Interim Distribution - Claim F-109                                -383.42
9/25/2018            7221   Scheopner's Water Conditioning LLC               2nd Interim Distribution - Claim F-110                                -162.99
9/25/2018            7222   Scicorp International Corp.                      2nd Interim Distribution - Claim F-111                              -2,453.76
9/25/2018            7223   Servi-Tech Laboratories                          2nd Interim Distribution - Claim F-113                              -4,273.57
9/25/2018            7224   Simplex Grinnell LLP                             2nd Interim Distribution - Claim F-116                                -690.08
9/25/2018            7225   Spikes Brothers, LLC                             2nd Interim Distribution - POC #90                                 -90,023.44
9/25/2018            7226   Staples Advantage                                2nd Interim Distribution - Claim F-117                                -370.51
9/25/2018            7227   Stoppel Dirt, Inc.                               2nd Interim Distribution - POC #67                                -183,285.52
9/25/2018            7228   Tatro Plumbing Co., Inc.                         2nd Interim Distribution - Claim F-123                              -1,664.68
9/25/2018            7229   Terracon Consultants Inc.                        2nd Interim Distribution - Claim F-124                                 -54.27
9/25/2018            7230   Terranol A/S                                     2nd Interim Distribution - POC #80                                 -28,702.28
9/25/2018            7231   The Print Source, Inc.                           2nd Interim Distribution - Claim F-126                                -246.11
9/25/2018            7232   Tramco Inc.                                      2nd Interim Distribution - Claim F-128                              -9,035.03
9/25/2018            7233   United Parcel Service                            2nd Interim Distribution - Claim F-132                                -147.26
9/25/2018            7234   Univar USA Inc.                                  2nd Interim Distribution - POC #40                                 -11,327.78
9/25/2018            7235   Varilease Finance Inc.                           2nd Interim Distribution - POC #17                                -104,584.30
9/25/2018            7236   Vega Americas Inc.                               2nd Interim Distribution - Claim F-134                                -687.31
9/25/2018            7237   VonWin Capital Management LP                     2nd Interim Distribution - POC #99                                 -18,290.33
9/25/2018            7238   West Salem Machinery                             2nd Interim Distribution - Claim F-138                             -11,674.53
9/25/2018            7239   Westair Gas & Equipment LP                       2nd Interim Distribution - Claim F-139                              -2,113.91
9/25/2018            7240   Western Reserve Water Systems                    2nd Interim Distribution - POC #62                                 -32,928.81
9/25/2018            7241   Wiese USA Inc.                                   2nd Interim Distribution - Claim F-141                              -2,502.60
9/25/2018            7242   York Printing Co. & Copy Center                  2nd Interim Distribution - Claim F-143                                -177.64
9/25/2018            7243   Zurich American Insurance Co.                    2nd Interim Distribution - POC #50                                 -18,701.62
9/25/2018            7244   Securitas Security Services                      2nd Interim Distribution - POC #39                                 -14,496.87


                                                                             TOTAL                                                            3,752,329.54


If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
                                                                              Not Applicable




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